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UNITED STATES DISTRICT COURT
‘SOUTHERN DISTRICT OF CALIFORNIA

wOOCV 921BIM — WM

MARIAN COAD, Individually and on Behalf )
of All Others Similarly Situated, )
) CLASS ACTION
Plaintiff, )
) COMPLAINT FOR VIOLATION OF THE
Vs. ) FEDERAL SECURITIES LAWS
. ) a

SEQUENOM, INC., HARRY STYLLI, PAUL )
W. HAWRAN, ALLAN BOMBARD, )
CHARLES R. CANTOR and ELIZABETH _ )
DRAGON, )
)

-Defendants. ) oO

-) DEMAND FOR JURY TRIAL

 

 
 

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INTRODUCTION
1, This is a securities class action on behalf of all persons who purchased or otherwise
acquired the common stock of Sequenom, Inc. between June 4, 2008 and April 29, 2009, inclusive .

(the “Class Period”), against Sequenom and certain of its officers and/or directors for violations of

the Securities Exchange Act of 1934 (the “1934 Act”).

2. Sequenom is a diagnostic testing and genetics analysis company. The Company is
researching, developing and pursuing the commercialization of various non-invasive molecular
diagnostic tests for prenatal genetic disorders and diseases, oncology, infectious diseases, and other
diseases and disorders.

3. During the Class Period, defendants issued materially false and misleading statements |.
regarding the Company’s Down syndrome test under development. Specifically, defendants failed
to disclose that Sequenom employees mishandled test data and results regarding the Down syndrome
test. As a result of defendants’ false and misleading statements, Sequenom stock traded at
artificially inflated prices during the Class Period, reaching a high of $27.76 per share on September
24, 2008. This inflated stock price permitted Sequenom to raise $92 million in a secondary stock
offering in July 2008, acquire a diagnostic company for fewer shares of Sequenom stock than would
have been necessary absent the inflation, and commence a tender offer for another company in an.
all-stock transaction. |

4. | On April 29, 2009, after the market closed, the Company issued a press release

entitled “Sequenom Announces Delay in Launch of SEQureDx Trisomy 21 Test.” The press release |

‘Stated in part:

Sequenom, Inc. announced today that the expected launch of its SEQureDx™ Down
syndrome test is delayed, due to the discovery by company officials of employee
mishandling of R&D test data and results. Accordingly the company is no longer
relying on the previously announced R&D test data and results. SEQUENOM has
not changed its plans to develop in parallel its RNA- and DNA-based methods for the _
Down syndrome test and will endeavor to have a validated test in the fourth quarter
of 2009. Under the circumstances, and as supported by key clinical opinion leaders,
the company now intends to launch the Down syndrome test upon publication in a
peer-reviewed journal of the results from the on-going large, independent clinical
studies, which are designed to be practice-changing for Down syndrome testing.

The company’s board of directors has formed a special committee of
independent directors to oversee an independent investigation of the employees’

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activity related to the test data and results. The committee has engaged independent
counsel to assist the committee in the conduct of the investigation.

* * *

Today’s announcement regarding the company’ s SEQureDx Down syndrome

R&D test data and results supersedes all previous announcements about such data

and test, including its press releases dated June 4, 2008, September 23, 2008,

December 1, 2008, January 28, 2009 and February 3, 2009.

5.’ Asaresult of defendants’ false statements, Sequenom’s stock price traded at inflated
levels during the Class Period. On this news, Sequenom’s stock collapsed over $11 per share to as
low as $3.23 per share, a one-day decline of more than 75%, on volume of more than 85 million
shares as artificial inflation came out of the stock price.

JURISDICTION AND VENUE |

6. | Jurisdiction is conferred by §27 ofthe 1934 Act. The claims asserted herein arise

under §§10(b) and 20(a) of the 1934 Act and SEC Rule 10b-5.
| 7. Venue is proper in this District pursuant to §27 of the 1934 Act. Many of the false
and misleading statements were made in or issued from this District.

8. Sequenom’s principal executive offices are located at 3595 John Hopkins Court, San
Diego, California.

PARTIES
9. Plaintiff Marian Coad purchased Sequenom common stock as described in the

attached certification and was damaged thereby.

10. Defendant Sequenom is a diagnostic testing and genetics analysis company. The

|| Company is focused on providing products, services, diagnostic testing, applications and genetic

analysis products that translate the results of genomic science into solutions for biomedical research,
translational research, molecular medicine applications, and agricultural, livestock and other areas of
research. Sequenom is researching, developing and pursuing the commercialization of various non- -
invasive molecular diagnostic tests for prenatal genetic disorders and diseases, oncology, infectious
diseases, and other diseases and disorders. Sequenom is headquartered in San Diego, California.
11. Defendant Harry Stylli (‘Stylli”) is, and at all relevant times was, President and Chief

Executive Officer (“CEO”) and a director of Sequenom.

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12. Defendant Paul W. Hawran (“Hawran”) is, and at all relevant times was, Chief
Financial Officer (“CFO”) of Sequenom. | |

13. Defendant Allan Bombard (“Bombard”) is, and at all relevant times was, Chief
Medical Officer of Sequenom.

14. Defendant Charles R. Cantor (“Cantor”) is, and at all relevant times was, Chief
Scientific Officer of Sequenom. .

15. Defendant Elizabeth Dragon (“Dragon”) is, and at all relevant times was, Senior Vice
President, Research and Development of Sequenom. | |

16. Defendants Stylli, Hawran, Bombard, Cantor and Dragon (the “Individual
Defendants”), because of their positions with the Company, possessed the power and authority to
control the contents of Sequenom’s quarterly reports, press releases and presentations to securities
analysts, money and portfolio managers and institutional investors, i.e., the market. They were
provided with copies of the Company’s reports and press releases alleged herein to be misleading
prior to or shortly after their issuance and had the ability and opportunity to prevent their issuance or
cause them to be corrected: Because of their positions with the Company, and their access to
material non-public information available to them but not to the public, the Individual Defendants
knew that the adverse facts specified herein had not been disclosed to-and were being concealed
from the public and that the positive representations being made were then materially false and
misleading. The Individual Defendants are liable for the false statements pleaded herein.

FRAUDULENT SCHEME AND COURSE OF BUSINESS oo
17. Defendants are liable for: (i) making false statements; or (ii) failing to disclose

adverse facts known to them about Sequenom. Defendants’ fraudulent scheme and course of
business that operated as a fraud or deceit on purchasers of Sequenom common stock was a success,
as it: (i) deceived the investing public regarding Sequenom’s prospects and business; (11) artificially

inflated the price of Sequenom’s common stock; and (iii) caused plaintiff and other members of the

Class to purchase Sequenom common stock at inflated prices.

 

 

 
 

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BACKGROUND
18. . Sequenom, incorporated in 1994, is a diagnostic testing and genetics analysis
company. The Company is focused on providing products, services, diagnostic testing, applications
and genetic analysis products that translate the results of genomic science into solutions for
biomedical research, translational research, molecular medicine applications, and agricultural,
livestock and other areas of research. Its development and commercialization efforts in various
diagnostic areas include non-invasive prenatal diagnostics, oncology, infectious diseases and other
disorders. The Company is researching, developing and pursuing the commereialization of various
non-invasive molecular. diagnostic. tests for prenatal genetic disorders and diseases, oncology,
infectious diseases, and other diseases and disorders.
19. The Company was focusing on non-invasive Down syndrome screening technology
as the Class Period began in what the Company termed a “$2 billion” opportunity. This was
electrifying for a company whose annual revenues were less than $50 million.

DEFENDANTS’ FALSE AND MISLEADING STATEMENTS ISSUED
DURING THE CLASS PERIOD

20. On June 4, 2008, Sequenom issued a press release entitled “Sequenom Announces
Results of Screening Studies for Down Syndrome and Updates Development of Noninvasive
Prenatal Diagnostics at Analyst and Investor. Briefing,” which stated in part:

Sequenom, Inc., a leading provider of genetic-analysis solutions, announced positive
results from screening studies using the Company’s noninvasive circulating cell-free
fetal (ccff) nucleic acid SEQureDx(TM) Technology, which enables the detection of
fetal aneuploidy, including Down syndrome from maternal blood. At its analyst-and-
investor briefing “The Future of Noninvasive Prenatal Diagnostics” held at the
International Society of Prenatal Diagnostics (ISPD) conference in Vancouver,
Canada, executives were joined by a panel of leading scientists and clinicians to
discuss study results and updates in the development of noninvasive prenatal
diagnostics.

_ The Company reported that in blinded studies performed at Sequenom
involving approximately 200 clinical samples collected both prospectively and
retrospectively, its proprietary test for Down syndrome correctly identified 100% of
all Down syndrome samples (i.e. sensitivity or detection rate), without any false-
positive outcomes (i.e. specificity). Population coverage for the T21 test improved to
at least 93% of the U.S. population. With currently available serum-testing options
having detection rates between 70% to 90% and false-positive rates as high as 5%, .
SEQureDx Technology shows promise for significant performance advantages over
the current paradigms for prenatal screening. The Company expects to continue its
development activities through the end of 2008, at which time the Company will

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initiate transfer of the technology to laboratory partners. The Company plans to
initiate a multi-site validation study consisting of several thousand samples in the
fourth quarter this year and launch its Down syndrome test as a Laboratory
Developed Test (LDT) in the U.S. in the first half 2009.

“We are very pleased to be reporting substantial progress toward
commercializing an important test to screen for Down syndrome that can. be
administered.as early as late in the first trimester through a simple blood draw from
the mother,” said Harry Stylli, Ph.D., Sequenom’s President and Chief Executive
Officer. “Data from our blinded screening study for the detection of fetal aneuploidy
indicate that the current version of our test has identified all Down syndrome samples
without any false-positive outcomes. Also our coverage has improved to at least 93%
of the U.S. population. Although these results require further validation in larger
studies, such results using SEQureDxTM Technology can potentially transform
current clinical practice for Down syndrome-risk assessment.”

The studies conducted both prospectively and retrospectively, involved
approximately 200 samples in both normal and high-risk patients. The blinded-
prospective study involved 180 samples comprising 130 low-risk and 50 high-risk
samples. The test correctly identified three Down syndrome samples without any
false-positive outcomes. Of the 21 blinded samples analyzed retrospectively, the test
correctly identified seven Down syndrome samples while also indicating no false-
positive results.

“A direct, noninvasive genetic assessment of fetal Down syndrome will result
in far-better screening accuracy and would dramatically reduce the number of
unnecessary, invasive diagnostic procedures that women undergo in current maternal
serum-screening protocols. Improved detection rates, as reported by Sequenom in its
assay optimization studies, exceed those with currently available screening models,”
said Allan T. Bombard, M.D., areproductive geneticist with more than two decades
of experience in the field of prenatal screening and diagnosis. (Dr. Bombard serves
as a Chief Medical Director at Sharp Mary Birch Hospital and is the Principal
Investigator of the study.) “Moreover, having minimum false-positive results will
significantly reduce the number of unnecessary confirmatory diagnostic tests, as well
as the anxiety and complications associated with invasive procedures.”

Currently available tests conducted during the first or second trimester of
pregnancy use epigenetic markers associated with the Down syndrome phenotype
that are characterized as “surrogate” markers as they are not directly related to the
extra Number 21 chromosome. Different combinations of markers, measured at
different times in pregnancy, constitute the multiple-market approach to screening.
These tests have detection rates of 70% to 90% with approximately a 5% false-
positive rate, while also having inconsistent-population coverage or ethnicity rates.
The SEQureDx test uses a maternal blood sample drawn as early as the first trimester
and identifies directly the extra Number 21 chromosome. Invasive procedures such
as amniocentesis or chorionic villus sampling (CVS) carry risk of miscarriage and
other risks to mother and fetus.

“Current screening methods, using multiple ‘surrogate’ markers, are very
good, but are unlikely to reach diagnostic potential,” said Jacob Canick, Ph.D.,
Professor of Pathology and Laboratory Medicine at Brown University Medical
School. “In contrast, I am optimistic that tests using multiple-fetal RNA and DNA
markers can be developed not only for Down syndrome, but for all clinically .
important aneuploidies, and it is reasonable to expect that such direct, noninvasive
diagnostics could be done in the first trimester of pregnancy.”

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21. After this announcement, Sequenom’s stock soared from $7.66 per share to $12.83
per share in less than a week. |

22. OnJuly 1,2008, pursuant to a prospectus and registration statement which were false
in that the documents concealed Sequenom’s inability to adequately control its employees handling
of test data, Sequenom completed an underwritten public offering of its common stock totaling 5.5
million shares of common stock at $15.50 per share, with the underwriters exercising their option to
purchase an additional 825,000 shares on July 8, 2008. Including the additional shares, the offering
resulted in net proceeds of $92 million to Sequenom. |

23. On July 30, 2008, Sequenom reported is second quarter 2008 financial results, in a
release which stated in part:

“We have taken major steps toward the introduction of our. noninvasive
prenatal test for Down syndrome, based on our SEQureDx(TM) technology,”
commented Harry Stylli, Ph.D., President and Chief Executive Officer of Sequenom.
“On June 3 at the International Society of Prenatal Diagnostics conference in
Vancouver, we announced study results involving 200 normal and high-risk samples.
The results showed that we correctly identified all Down samples, with no false-
positives. This compares to current screening tests that have detection rates of 70% to
90% with approximately 5% false-positives. We are currently focused on analyzing
first trimester samples to validate the applicability of our Down syndrome test for
first trimester screening.”

* * *

2008 Second Quarter and Recent Highlights

- Down Syndrome Screening Study Results: In early June, we announced
positive results from screening studies using our noninvasive circulating cell-
free fetal (ccff) nucleic acid SEQureDx technology, which enables the
detection of fetal aneuploidy, including Down syndrome from maternal
blood. We reported that in blinded studies performed at Sequenom involving
approximately 200 clinical samples collected both prospectively and
retrospectively, our proprietary test for Down syndrome correctly identified
all Down syndrome samples, without any false-positive outcomes. Currently
available serum-testing options having detection rates between 70% to 90%,
and false-positive rates as high as 5%.

24. Throughout August 2008, Sequenom’s stock continued to increase, reaching over $20

per share.
_25. On September 23, 2008, Sequenom issued a press release entitled “Sequenom
Announces Additional, Positive Results for Down Syndrome Test at Analyst Briefing,” which stated

in part:

 

 

 
 

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Sqeuenom, Inc., a leading provider of genetic-analysis and molecular diagnostic
solutions, announced additional, positive results from screening studies using the
Company’s noninvasive circulating cell-free fetal (ccff) nucleic acid SEQureDx(TM)
Technology, which enables the detection of fetal aneuploidy, including Down
syndrome from maternal blood, at its Analyst Briefing in New York City. Among the
data presented, Sequenom’s test demonstrated complete concordance with clinical
results (no false positives and no false negatives) in both first and second trimester
samples (over 200 samples announced today and in excess of 400 prospective
samples to-date). Sequenom executives were joined by a panel of leading scientists
and clinicians to discuss these study results and updates in the development of
noninvasive prenatal diagnostics.

“These data expand upon the data we announced in June and underscore the
potential for our SEQureDx Technology to transform current clinical practice for
prenatal diagnostics as a primary screening tool for Trisomy:21. Furthermore, these
results support the potential for our test to be used in the first trimester,” said Harry
Stylli, Ph.D., Sequenom’s President and Chief Executive Officer. “In addition, our
announcement earlier today regarding our acquisition of the Center for Molecular
Medicine, a CLIA-certified molecular diagnostics laboratory, and our partnership
with Spectrum Health and the Van Andel Research Institute, provides us with
important infrastructure and commercialization control. We are delighted with our
progress in bringing to market an important, noninvasive screening test for Down
syndrome, as well as a broader menu of molecular diagnostic tests. These results are
very promising, and we look forward to continuing the clinical development and
validation progress to launch in the first half of 2009.”

Elizabeth Dragon, Ph.D., Senior Vice President of Research and
Development at Sequenom, presented data from blinded studies performed at
Sequenom involving 219 new clinical samples collected prospectively, showing that

_ its proprietary test for Down syndrome correctly identified 100% of all Down

syndrome samples (i.e. sensitivity or detection rate), without any false-positive
outcomes (i.e. specificity). The SEQureDx prototype test also demonstrated its
ability to correctly identify a Down syndrome positive sample in the first trimester,
confirmed by chorionic villus sampling (CVS), a current testing standard’ that
requires the harvesting of placental tissue cells.

Sequenom indicated that with the addition of new SNPs in PLAC4 and a

recently discovered gene, the SEQureDx Trisomy 21 test should increase its
coverage from 93% to greater than 95% in the US population. The Company has also
identified novel markers for Trisomy 18 that have passed its initial selection criteria,
and other chromosomes, and intends to develop these markers into new tests.

The Company expects to continue its current development activities through
the end of 2008, at which time the Company will initiate a multi-site 3,000 to 5,000-
sample laboratory developed test (LDT) validation study, which is expected to be
completed and submitted for publication at the time of the anticipated commercial
launch in June 2009. To facilitate the LDT validation study, Sequenom also indicated
that the company will be collaborating with new clinical partners who perform in
excess of 12,000 amniocenteses and 3,000 CVS per year. In addition, Sequenom
announced sponsorship of the RNA Noninvasive Aneuploidies (“RNA”) study, a
landmark, multi-center, prospective study involving up to 10,000 samples from first

and second trimester pregnancies using the SEQureDx technology, managed and |
. analyzed by an independent third-party.

 

 
 

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26. Additionally on September 23, 2008, Sequenom issued a press release entitled
“Sequenom Announces Acquisition of CLIA-Certified Laboratory and Partnerships with Spectrum
Health and Van Andel Research Institute — Acquisition of Center for Molecular Medicine Positions
Sequenom for Commercial Launch of SEQureDx(TM) Test in First Half 2009,” which stated in part:

Sequenom today announced that it entered into an agreement to acquire the Center
for Molecular Medicine (CMM), a Clinical Laboratory Improvement Act (CLIA)

' certified clinical diagnostics laboratory based in Grand Rapids, Michigan. CMM is
an innovative joint venture between. Spectrum Health, one of the largest not-for-
profit health systems in Michigan, and the Van Andel Research Institute, an
independent research institute with significant molecular biology expertise. Under
the terms of the agreement, Sequenom will pay a purchase price of approximately
$4.0 million (less CMM’s cash at closing) to acquire CMM and will enter into
collaborative agreements with Spectrum Health and the Van Andel Research
Institute. Ninety percent ofthe purchase price will be paid in shares of Sequenom
common stock. Sequenom also received a tax incentive package valued at up to $20
million over 12 years. The project includes a potential, near-term capital investment
of approximately $10 million and the potential creation of several hundred jobs over
five years.

* * *

Acquisition of the CLIA-certified lab will allow Sequenom control over all
aspects of the commercialization of its SEQureDx technology, including marketing
and communication programs, and critical sales and third-party payer reimbursement
contracting strategies. .

27. These announcements caused Sequenom’s stock to increase from $20.56 per share to
$27.76 the next day.
°28. On October 30, 2008, Sequenom issued a press release entitled “Sequenom Reports
2008 Third Quarter Financial Results — Company Achieved Significant Milestones in Development
of Proprietary Down Syndrome Test; Company Affirms 2008 Revenue Guidance,” which stated in
part:

“During the third quarter we rapidly advanced our paradigm-shifting
approach to Down syndrome screening and reinforced our significant leadership in
the noninvasive prenatal diagnostics space,” stated Harry Stylli, Ph.D., President and
Chief Executive Officer of Sequenom. “Specifically, we announced complete clinical
concordance with the results from our Trisomy 21 technology in more than 400
maternal blood samples analyzed to date. In addition, we secured additional
intellectual property to further enhance our already significant proprietary position in
noninvasive prenatal diagnostics, and we signed a definitive agreement to acquire the
Center for Molecular Medicine (CMM), a state-of-the-art CLIA-certified laboratory.
Upon completion of the CMM acquisition, CMM will be positioned to launch RHD
and Fetal (XY) tests in the first quarter of 2009, followed by the Trisomy 21 test by
mid-year. We look forward to continuing this progress in the quarter and year
ahead.” :

 

 

 
 

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2008 Third Quarter and Recent Highlights

_ Further Positive Results from Down Syndrome Screening Study: In late

September Sequenom announced additional positive results from screening
studies for detection of fetal aneuploidy, including Down syndrome, from
maternal blood using Sequenom’s noninvasive circulating cell-free fetal
(ceff) nucleic acid SEQureDx Technology. At the Analyst and Investor
-Briefing, Sequenom presented data demonstrating complete concordance
with clinical results (no false positives and no false negatives) in both first
and second trimester samples from an additional 200 (400 in total)
prospective samples.

29. On December 1, 2008, Sequenom issued a press release entitled “Next-Generation
Noninvasive Diagnostic Technology Shown to Accurately Detect Fetal Down Syndrome in First

Trimester of Pregnancy,” which stated in part:

Sequenom, Inc. announced new data from a collaborative project with The Chinese
University of Hong Kong, published this week in the Early Edition of the
Proceedings of the National Academy of Sciences, that demonstrate its innovative,
next-generation, noninvasive prenatal diagnostic technology accurately quantified
maternal plasma DNA sequences for fetal Trisomy 21, or Down syndrome, based on
samples taken from women in the first and second trimesters of pregnancy. These
data are the first to suggest that this future approach, based on massively parallel
genomic DNA sequencing, can be effective in women who had not previously
undergone invasive procedures.

This study used massively parallel genomic sequencing to quantify maternal
plasma DNA sequences for the noninvasive prenatal detection of Down syndrome,
assessing samples from 28 women in the first and second trimesters of pregnancy.
All 14 Down syndrome fetuses and normal fetuses were correctly identified at these
early stages.

“Current invasive methods for diagnosing Down syndrome in pregnancy have _

documented risks associated with such procedures. Our new study using massively
parallel genomic DNA sequencing represents a ‘next-generation’ technology for
noninvasive, safe testing of Down syndrome. This is the first study to show that this
approach can be used for the detection of Down syndrome in both the first and
second trimesters, based on a rigorously controlled clinical cohort in which the

| _ pregnant women with fetuses affected by Trisomy 21 and those with normal fetuses _
were matched in gestational age, and in which most of the studied subjects had not

previously undergone an invasive procedure. The latter point is important as it shows
that the method would truly work in the noninvasive prenatal diagnostic scenario.
This study also employs a novel data analysis algorithm which has achieved an
unprecedented clear separation of the Trisomy and normal samples,” stated Dennis
Lo, M.D., Ph.D., co-author of the study,.and Li Ka Shing, Professor of Medicine at
The Chinese University of Hong Kong. “While this new approach is several years
away aS a commercially viable test, we believe that massively parallel genomic
sequencing of DNA in maternal plasma may offer a complementary approach to the
RNA SNP allelic ratio approach that we reported last year for Trisomy 21 detection.
The two approaches have performance and cost profiles which would potentially be
synergistic to one another.”

 

 
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1 Sequenom licensed the exclusive rights to the massively parallel genomic
DNA sequencing technology featured in this study from The Chinese University of
Hong Kong in September 2008.

“Screening tests currently available for early detection of Down syndrome
and other chromosomal disorders are associated with a relatively high rate of
inaccuracy, which can result in an overlooked abnormality or, in the case of false
positive results, unnecessary invasive and risky procedures,” stated Harry Stylli,
Ph.D., President and Chief Executive Officer of Sequenom. “Systems to support
DNA sequencing like massively parallel genomic sequencing or shotgun sequencing
are currently limited to the academic setting due to scalability limitations and high
cost, therefore practical applications are several years from commercialization. We
find the data reported by Dr. Lo and associates to be very compelling and, while we
continue to evaluate other promising approaches, Sequenom licensed this technology
several months ago because we believe massively parallel genomic sequencing is a
promising approach to prenatal diagnostics that may offer a future extension to our
SEQureDx(TM) prenatal diagnostics franchise. Even though this technology is years
away from the clinic, we expect that our current RNA SNP allelic ratio technology -
10. which is the basis for the Down syndrome test we expect to launch in June 2009 -
will represent a major step forward in maternal and fetal testing.”

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Current screening technology for Down syndrome includes serum marker
12 analysis, such as the quad screen and first trimester combined screening that employs
both serum marker testing and nuchal translucency. These approaches have detection
13 - or sensitivity rates of 80% and 85% respectively, which means between 15% and
_ 20% of all Down syndrome-affected pregnancies will not be identified as needing
14 further evaluation. In addition, these approaches also have false positive rates
between 5% and 10%, resulting in hundreds of thousands of unnecessary, highly
15 invasive CVS or amniocentesis procedures. These invasive procedures, which are
used to determine whether the fetus has Down syndrome, carry a risk of miscarriage
16 in the range of one-in-100 to one-in-300.
17 The study, entitled “Noninvasive prenatal diagnosis of fetal chromosomal
aneuploidy by massively parallel genomic sequencing of DNA in maternal plasma”
18 _by Chiu et. al., is available online in this week’s Early Edition of PNAS at
www.PNAS.org.
19
dy - 30. On January 14, 2009, Sequenom announced that it intended to make an exchange
20
offer to acquire all of the outstanding shares of common stock of EXACT Sciences Corporation in
‘ an all-stock transaction valued at approximately $41 million. Under the terms of the proposal, each
22 ;
_ || share of EXACT Sciences would be exchanged for $1.50 in Sequenom common stock. This
23
consideration would be subject to a floating exchange rate within a 15% collar, in which the price of
24
Sequenom’s common stock is between $20.74 and $28.06 per share.
25
31. | OnJanuary 28, 2009, Sequenom issued a press release entitled “Sequenom Center for
26
Molecular Medicine Collaborates with Obstetrix Medical Group to Provide Clinical Samples for
27
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Case eee“ Document 1 Filed 05/01/09 —PagelD.12 Page 12 of 25
1 || LDT Validation Study ~ Collaboration with Leading Maternal-Fetal Medicine Physician Group
2 || Signifies Further Step Toward Commercializing Trisomy 21 Test,”. which stated in part:
3 Sequenom, Inc., today announced a collaboration with Obstetrix Medical Group, to
provide the Sequenom Center for Molecular Medicine (SCMM) with samples for a
4 study to further evaluate its novel, noninvasive prenatal test to assess Down
' syndrome (Trisomy 21) based on its circulating cell-free fetal (ccff) nucleic acid
5 SEQureDx™ technology. Obstetrix is a national physician group practice of
maternal-fetal medicine specialists that is affiliated with Pediatrix Medical Group.
6 .
This prospective multi-center feasibility study, “Noninvasive Screening for
7 Fetal Aneuploidy: A New Maternal Plasma Marker,” is designed as a Laboratory
Developed Test (LDT) validation study and will evaluate up to 5,000 samples. To
8 facilitate the LDT validation of the SEQureDx Trisomy 21 Test, Sequenom will be
collaborating with physicians practicing as part of Obstetrix as well as other
9 maternal-fetal medicine practices. According to the study protocol, Obstetrix will
collect clinical maternal plasma samples prior to performing an amniocentesis or
10 chorionic villus sampling (CVS) procedure. SCMM will then compare results for the
detection of Down syndrome using its prototype test of maternal blood samples t to
11 the related amniocentesis or CVS results.
12 “We are delighted to be working with Obstetrix, a highly respected leader in
the care of women during high-risk pregnancies,” said Harry Stylli, Ph.D.,
13 Sequenom’s President and Chief Executive Officer. “This validation study is an
important next step in our commercialization strategy to bring our noninvasive
14 Trisomy 21 Down syndrome maternal blood LDT to market.”
15 Thomas J. Garite, M.D., of Obstetrix Medical Group, who will oversee the
study, stated, “The discovery of fetal DNA and RNA in the plasma of pregnant
16 women has led to promising approaches to noninvasive prenatal testing for the
identification of pregnancies with a chromosomal abnormality such as Down
17 syndrome. This test could produce results that are more accurate than current early-
stage serum screening methods, thus reducing the need for invasive tests, such as
18 amniocentesis or CVS, which pose a certain level of risk for mother and fetus.”
19}, Dr. Stylli added, “We are committed to becoming a leader in noninvasive
prenatal diagnostics. As such, Sequenom has taken a three-pronged approach to the
20 development and clinical evaluation of the Trisomy 21 technology. First, we
completed a rigorous R&D study over the last year, the final data from which will be
21 announced later today. Second, we initiated this LDT validation study to obtain
extensive clinical data in support of faster adoption of an LDT by our CLIA-certified
22 laboratory, SCMM. Lastly, Sequenom is sponsoring the RNA Noninvasive
Aneuploidies (“RNA”) study, a landmark, multi-center, prospective study involving
23 up to 10,000 samples from first and second trimester pregnancies using the
SEQureDx technology, managed and analyzed by an independent third-party.”
24
32. On February 3, 2009, Sequenom issued a press release entitled “Sequenom
25
. Announces Findings on Methylation Markers and RNA-SNP Markers as Presented at SMFM —
26 ,
Company Provides Additional Details on SEQureDx Trisomy 21 Technology Performance Data,”
27 ,
which stated in part:
28 .
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Case eee Document 1 Filed wo Page 13 of 25
1 Sequenom, Inc. today announced new data showing the discovery of DNA
methylation markers for Trisomy 2! (Down syndrome), Trisomy 18 (Edwards
2 syndrome) and Trisomy 13 (Patau syndrome) and identification of chromosome
RNA-SNP markers for early detection of Trisomies 18 and 13. The data were
3 presented on Thursday and Friday, January 29 and January 30, 2009, at the 29th
annual meeting of the Society for Maternal-Fetal Medicine (SMFM). In addition,
4 Sequenom announced more information regarding the performance of its Down
syndrome test at a Separate meeting held concurrently in San Diego.
5 . ,
“Sequenom is committed to reinforcing its leadership in the noninvasive
6 prenatal arena with innovative, proprietary technologies for chromosomal disorders,
and monogenic, polygenic diseases using discrete and whole genome approaches,”
7 said Harry Stylli, Ph.D., President and Chief Executive Officer of Sequenom. “Our
discoveries regarding new DNA methylation and RNA-SNP markers for Trisomies
8 21, 18, 13 will help expand our future assay offerings. Also, our new, proprietary
DNA-based testing method, which was presented at our analyst meeting,
9 IL complements our RNA-based strategy, especially as a reflex for homozygote no
calls. The DNA-based method has the potential to work universally for T21, T18,
10 T13 and gender determination in a single tube.”
11 In an oral session presented at the SMFM meeting, Mathias Ehrich, M.D.,
Scientific Group Leader of Sequenom, highlighted the discovery of DNA
12 methylation markers for prenatal aneuploidy testing in a presentation entitled
“Discovery of DNA Methylation Markers for Prenatal Aneuploidy.” The genome-
13 wide methylation analysis identified more‘than 3,000 differentially methylated —
regions with approximately 90% confirmation; study results showed proof-of-
14 concept for the sensitive detection of aneuploidies. —
15 In a poster session at the SMFM meeting entitled “Identification of RNA-
. SNP Markers for Noninvasive Prenatal Diagnosis (NIPD) of T18 and T13,” an exon
16 array was utilized to compare gene expression profiles and identify SNPs using
matched placenta and maternal PBMC RNA samples. All SNP candidates were then
17 screened using 100 human diversity genomic DNA samples of various ethnicities to
measure the heterozygote rate (HR) for each SNP. SNPs with an HR of 4 percent or
18 greater were retested using placental RNA samples. Four SNPs from one C13 gene
. and three C18 genes were selected for assay development based on positive placental
19 RNA results and additional SNPs within these genes will be validated to expand
population coverage for T13 and T18 screening using the RNA-based method.
20
The RNA, DNA and methylation marker variations of the SEQureDx™ .
21 Technology are being developed in parallel and may be validated in the same studies. —
All may ultimately be commercialized and prove complementary in some or all
22 . patients.
23 Additional Data from Screening Studies Evaluating RNA-based SEQureDx
34 Trisomy 21 Technology
During an analyst and investor briefing held concurrently with the SMFM _
25 meeting, Sequenom presented new data evaluating its prenatal screening technology -
for Down syndrome. The data presented consisted of 459 new samples from
26 prospective, blinded studies performed at Sequenom, bringing the total number of
samples studied to 858. The test correctly identified all 22 T21 positive samples from
27 . the 459 new samples including eight first-trimester and 14 second-trimester Down
syndrome samples (i.e. 100% sensitivity or detection rate) with one false positive and
28 no false negatives, as confirmed by chorionic villus sampling (CVS) and
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amniocentesis. The DNA-based method correctly detected the one homozygous
sample that the RNA-based method did not resolve (i.e., that had been deemed a “no-
call”).

A summary of the results for the 459 new samples including samples as early
as 8 weeks of pregnancy are.as follows:

° Specificity of 99.7% (98.4% - 100%) and 100% sensitivity (85.1 — 100%) at
-a 95 % confidence interval;

e The Positive Predictive Value is 95.6% (79.0% -99.8%) and the Negative
. ° Predictive Value of 100.0% (98.9% - 100%) at a 95% confidence interval;

e The SEQureDx RNA test had a total of 85 unresolved results (“‘no-calls”’) due
to homozygotes (80) and unacceptably low RNA levels (5) for a total of
18.5%. The DNA-based method analyzed 68 of the homozygote “no-calls”
and all were successfully resolved;

° The distribution -of the 459 samples actually collected as compared to the
expected rate in the U.S. population was Caucasian (282 vs. 307), Asian (101
vs. 20), African American (12 vs. 62) Hispanic (62 vs. 68) and Native -
American (2 vs. 3).

“We are pleased with the progress of our research efforts and look forward to
transferring the technology to our CLIA facility soon for commercial launch in
June,” said Dr. Betty Dragon, Senior Vice President Research & Development. “We
are confident that our no call rate for homozygote samples will improve as the patient
population increases and the ethnic distribution normalizes. We expect that in the
final test, ethnic coverage will be better than 95% of the U.S. population.
Identification of additional SNPs by ongoing sequencing of the relevant genes of
homozygote patients, coupled with modest improvements in marker recovery, will
further expand the ethnic coverage of the RNA-based test.

“Furthermore, when compared to amniocentesis or CVS, the new DNA-based
method correctly identified all 68 homozygotes tested including a no-call T21 sample
and ano call T18 sample. The DNA-based test shows great promise as a reflex to the
RNA method or potentially as‘a front-line test in its own right,” added Dr. Dragon.

Based on the results from the 858 total study samples, the Sequenom
SEQureDx RNA-based technology demonstrated:

° Specificity of 99.9% (99.2% - 100.0%) and 100% sensitivity (87.9% -
100.0%) at a 95% confidence interval;

° The Positive Predictive Value is 96.6% (82.8% -99.8%) and the Negative
Predictive Value of 100.0% (99.5% - 100%) at a 95% confidence interval;

e The SEQureDx RNA test had a total of 106 unresolved results (“no calls’)
due to homozygotes (94) and unacceptable RNA levels (12) or a total of
12.4%. The DNA-based method, when applied, resolved all no calls;

e SEQureDx_ is considerably more accurate than commonly employed —
standard-of-care screening tests, which perform at a 70%-90% detection rate
(i.e., sensitivity) with a 90%-95% specificity in practice. SEQureDx even

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Case |B:09-cv-00921-LAB,\WMC Document1 Filed se Page 15 of 25
1 compares favorably to current invasive procedures, such as amniocentesis
(which has sensitivity and specificity of approximately 99.5%).
2 . -
33. On February 11, 2009, Sequenom issued its fourth quarter and year end 2008
3. ,
financial results, in a release which stated in part:
4
Sequenom, Inc. today reported financial results for the three and 12 months ended
5 December 31, 2008.
6 “This past year was pivotal for Sequenom as we continued to advance our
genetic analysis and molecular diagnostics businesses,” stated Harry Stylli, Ph.D.,
7 President and Chief Executive Officer of Sequenom. “We accomplished many key
milestones over the last 12 months and are well-positioned for the launch of our
8 SEQureDx™ Down syndrome technology in June. The data reported from our R&D
study containing 858-patient samples clearly shows that our SEQureDx screening
9 technology is considerably more accurate than the current standard-of-care screening
technology, and even compares favorably against current invasive procedures. We
10 intend to review in extensive detail the specifics of our promising study results and —
commercialization milestones by dedicating substantial time to these during our
11 quarterly investment-community conference call later today.”
12 * * *
13 Early 2009 Highlights
14 ° Announced Additional Positive Results ‘from RNA Down Syndrome Screening
' Study and Unveiled Breakthrough DNA Approach to Prenatal Diagnostics:
15 Earlier this year, Sequenom announced positive data regarding the
performance of its Down syndrome test, including data from 459 new, high-
16 prevalence patient samples, bringing the total number of patient samples
_ Studied to 858. Based on the results from total study samples, including ~
17 samples obtained as early as eight weeks of pregnancy, Sequenom’s
SEQureDx RNA-based technology demonstrated a 96.6% positive predictive
18 value (PPV) and a 100% negative predictive value (NPV). Sequenom also
unveiled a breakthrough DNA-based SEQureDx technology demonstrating,
19 in early studies, universal ethnic coverage, high sensitivity and specificity,
and the ability to detect Trisomy 21 (Down syndrome), Trisomy 18 (Edwards
20 syndrome) and Trisomy 13 (Patau syndrome) in a single test.
21 * * *
22 Fourth Quarter 2008 Highlights
23 e New Data Indicates Next-generation Noninvasive Technology Accurately
Quantifies Maternal Plasma DNA Sequences for Down syndrome: In
24 December Sequenom announced new data from a collaborative project with
The Chinese University of Hong Kong, published in the Early Edition of the
25 Proceedings of the National Academy of Sciences, that demonstrate
Sequenom’s innovative, next-generation, noninvasive prenatal diagnostic
26 technology accurately quantified maternal plasma DNA sequences for Down
syndrome, based on samples taken from women in the first and second.
27 trimesters of pregnancy. These data are the first to suggest that this future
approach, based on massively parallel genomic DNA sequencing, can be
28 effective in women who had not previously undergone invasive procedures.
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34. On March 12, 2009, Sequenom filed its annual report on Form 10-K for the year
ended December 31, 2008, which was signed by defendants Stylli and Hawran and represented that:

In the near term, we are targeting a $2 billion prenatal screening opportunity
with our prenatal Down syndrome and Rhesus D genotyping products. Cystic fibrosis
carrier screening, which is often ordered when Down syndrome screening is
performed is estimated to be a market worth an additional $250 to $750 million
based on the different product offerings available in the United States today..

* * *

Based on the results from the 858 total study samples, our SEQureDx RNA-
based technology demonstrated:

e Specificity of 99.9% (99.2%-100.0%) and 100% sensitivity (87.9%-
100.0%) at a 95% confidence interval;

e The Positive Predictive Value is 96.6% (82.8%-99.8%) and the
Negative Predictive Value of 100.0% (99.5%-100%) at a 95%

confidence interval;

e The SEQureDx RNA test had a total of 106 unresolved results
(“inconclusives”) due to homozygotes (94) and unacceptable RNA
levels (12) or a total of 12.4%. (The DNA-based method, when
applied, resolved the no calls of those samples which could be
tested);

° SEQureDx is more accurate than commonly employed standard-of-
care screening tests, which perform at a 70%-90% detection rate (i.e.,
sensitivity) with a 90%-95% specificity in practice. SEQureDx even

_ compares favorably to current invasive procedures, such as
amniocentesis (which has sensitivity and specificity of approximately
99.5%).

“Specificity” is the probability that the test will be negative if the patient does
not have the disease or condition. “Sensitivity” is the probability that the test will be
positive if the patient has the disease or condition. “Positive Predictive Value” is the
probability that a patient has the disease or condition when his/her test is positive.
“Negative Predictive Value” is the probability that a patient does not have the disease
or condition when his/her test is negative. The ranges in parentheses are 95%
confidence intervals which represent the statistical uncertainty associated with the
results based on the sample data.

35. The Form 10-K also included certifications by Stylii and Hawran, which certifications
stated in part:

. I have reviewed this annual report on Form 10-K for the year ended
December 31, 2008 of Sequenom, Inc.;

2. Based on my knowledge, this annual report does not contain any untrue
statement of a material fact or omit to state a material fact necessary to make the
statements made, in light of the circumstances under which such statements were
made, not misleading with respect to the period covered by this annual report;

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* * *

4. The registrant’s other certifying officer(s) and I am responsible for
establishing and maintaining disclosure controls and procedures (as defined in
Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial
reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f) for the
registrant and have:

a) designed such disclosure controls and procedures, or caused such
disclosure controls and procedures to be designed under our supervision, to
ensure that.material information relating to the registrant, including its
consolidated subsidiaries, is made known to us by others within those
entities, particularly during the period in which this annual report is being
prepared;

36. | On April 29, 2009, after the market closed, the Company issued a press release
entitled “Sequenom Announces Delay in Launch of SEQureDx Trisomy 21 Test.” The press release
stated in part: | |

SEQUENOM, Inc. announced today that the expected launch of its SEQureDx™
Down syndrome test is delayed, due to the discovery by company officials of
employee mishandling of R&D test data and results. Accordingly the company is no
longer relying on the previously announced R&D test data and results. SEQUENOM
has not changed its plans to develop in parallel its RNA- and DNA-based methods
for the Down syndrome test and will endeavor to have a validated test in the fourth
quarter of 2009. Under the circumstances, and as supported by key clinical opinion
leaders, the company now intends to launch the Down syndrome test upon
publication in a peer-reviewed journal of the results from the on-going large,

independent clinical studies, which are designed to be practice-changing for Down
syndrome testing.

The company’s board of directors has formed a special committee ‘of
independent. directors to oversee an independent investigation of the employees’

activity related to the test data and results. The committee has engaged independent
counsel to assist the committee in the conduct of the investigation.

* x, *

Today’s announcement regarding the company’s SEQureDx Down syndrome °
R&D test data and results supersedes all previous announcements about such data
and test, including its press releases dated June 4, 2008, September 23, 2008,
December 1, 2008, January 28, 2009 and February 3, 2009.
37.  Onthis news, Sequenom’s stock collapsed more than $11 per share to as low as $3.23
per share, a one-day decline of over 75%, on volume of more than 85 million shares.

38. The true facts, which were known by the defendants but concealed from the investing

public during the Class Period, were as follows:

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poo“ Document 1. Filed er Page 18 of 25:

(a) . Company employees mishandled test data and results concerning Sequenom’s
Down syndrome test; and

(b) The Company failed to maintain internal controls sufficient to prevent the
mishandling of test data and results.

39. As a result of defendants’ false statements, Sequenom’s stock price traded at inflated
levels during the Class Period. This drop removed inflation from Sequenom’s stock price, causing
real economic loss to investors who had purchased the stock during the Class Period.

LOSS CAUSATION/ECONOMIC LOSS
40. ‘By misrepresenting its testing processes and results, the defendants presented a
misleading picture of Sequenom’s business and prospects. Thus, instead of truthfully disclosing
during the Class Period that Sequenom’s testing did not have adequate controls over employees
involved in testing data, Sequenom falsely reported positive test results.

41. | These claims of favorable data caused and maintained the artificial inflation in
Sequenom’s stock price throughout the Class Period and until the truth was revealed to the market.

42. On April 29, 2009, defendants were forced to publicly disclose that Sequenom .
employees had “mishandled” data with respect to the all-important Down syndrome testing
technology, causing its stock to collapse from $14.91 per share to as low as $3.23 per share in one
day. | 7

43. | As a direct result of defendants’ admissions and the public revelations regarding the
truth about Sequenom’s overstatement of income and its actual business prospects going forward,
Sequenom’s stock price fell more than 73%, falling from $14.91 per share on April 29, 2009 to as
low as $3.23 per share on April 30, 2009 — a one-day drop of more than $11 per share. This drop
removed the inflation from Sequenom’s stock price, causing real economic loss to investors who had
purchased the stock during the Class Period.

COUNT I

For Violation of §10(b) of the 1934 Act and Rule 10b-5
Against All Defendants

44. Plaintiff incorporates {1-43 by reference.

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45. — During the Class Period, defendants disseminated or approved the false statements
specified above, which they knew or deliberately disregarded were misleading in that they contained
misrepresentations and failed to disclose material facts necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading.

46. Defendants violated §10(b) of the 1934 Act and Rule 10b-S in that they:

(a) employed devices, schemes and artifices to defraud;

(b) made untrue statements of material facts or omitted to state material facts
necessary in order to make the statements made, in light of the circumstances under which they were
made, not misleading; or |

(c) engaged in acts, practices and a course of business that operated as a fraud or
deceit upon plaintiff and others similarly situated in connection with their purchases of Sequenom :
common stock during the Class Period.

47. Plaintiff and the Class have suffered damages in that, in reliance on the integrity of
the market, they paid artificially inflated prices for Sequenom common stock. Plaintiff and the Class
would not have purchased Sequenom common stock at the prices they paid, or at all, if they had
been aware that the market prices had been artificially and falsely inflated by defendants’ misleading
statements.

COUNT Il

For Violation of §20(a) of the 1934 Act
Against All Defendants

48. _ Plaintiff incorporates J]1-47 by reference.

49. The Individual Defendants acted as controlling persons of Sequenom within the
meaning of §20(a) of the 1934 Act. By reason of their. positions with the Company, and their
ownership of Sequenom stock, the Individual Defendants had the power and authority to cause
Sequenom to engage in.the wrongful conduct complained of herein. Sequenom controlled the
Individual Defendants and all of its employees. By reason of such conduct, defendants are liable

pursuant to §20(a) of the 1934 Act.

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1 | CLASS ACTION ALLEGATIONS

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50. _ Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules
of Civil Procedure on behalf of all persons who purchased or otherwise acquired Sequenom common
stock during the Class Period (the “Class”). Excluded from the Class are defendants.
| 51. The members of the Class are so numerous that joinder of all members is
impracticable. The disposition of their claims in a class action will provide substantial benefits to
the parties and the Court. Sequenom has more than 60 million shares of stock outstanding, owned _

by hundreds if not thousands of persons.

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52. There is a well-defined community of interest in the questions of law and fact
10 || involved in this case. Questions of law and fact common to the members of the Class which

11 || predominate over questions which may affect individual Class members include:

12 (a) whether the 1934 Act was violated by defendants;
13 (b) whether defendants omitted and/or misrepresented material facts;
14 , (c) whether defendants’ statements omitted material facts necessary to make the

15 statements made, in light of the circumstances under which they were made, not misleading;

16 ' (d) _ whether defendants knew or deliberately disregarded that their statements
17 || were false and misleading;

18 (e) whether the price of Sequenom common stock was artificially inflated; and
19 (f) the extent of damage sustained by Class members and the appropriate measure
20 || of damages. | |

21 53. Plaintiff's claims are typical of those of the Class because plaintiff and the Class
22 || sustained damages from defendants’ wrongful conduct.

23 54. Plaintiff will adequately protect the interests of the Class and has retained counsel
24. || who are experienced in class action securities litigation. Plaintiff has no interests which conflict
25 || with those of the Class.

26 55. A class action is superior to other available methods for the fair and efficient
27 || adjudication of this controversy.

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Case B:09-cv-00921-LAB- WMC Document 1 Filed 05/01/09 ~PagelD.21 Page 21 of 25
1 PRAYER FOR RELIEF.
2 WHEREFORE, plaintiff prays for judgment as follows:
3 A. Declaring this action to be a proper class action pursuant to Fed. R. Civ. P. 23;
4 B Awarding plaintiff and the members of the Class damages, including interest;
5 C. Awarding plaintiff reasonable costs and attorneys’ fees; and -
—~6 D Awarding such equitable/injunctive or other relief as the Court may deem just and
7 || proper.
8 JURY DEMAND
9 Plaintiff demands a trial by jury.
‘10 |} DATED: May 1, 2009 COUGHLIN STOIA GELLER
RUDMAN & ROBBINS LLP
11 DARREN J. ROBBINS
DAVID C. WALTON
12 MATTHEW P. MONTGOMERY
14 C Ll
DAVID C. WALTON
15
655 West Broadway, Suite 1900
16 ~ San Diego, CA 92101-3301
Telephone: 619/231-1058 °
17 619/231-7423 (fax)
18 HOLZER, HOLZER & FISTEL, LLC
COREY D. HOLZER
19 MICHAEL I. FISTEL, JR.
MARSHALL P. DEES
20 200 Ashford Center North, Suite 300
Atlanta, GA 30338
21 Telephone: 770/392-0090
770/392-0029 (fax)
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Attorneys for Plaintiff
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CERTIFICATION OF NAMED PLAINTIFF
PURSUANT TO FEDERAL SECURITIES LAWS

The undersigned declares, as to the claims asserted under the federal securities laws, that:

1, Plaintiff has reviewed the complaint and authorized its filing.

2. Plaintiff did not purchase and/or acquire the security that is the subject of this action
at the direction of Plaintiff's counsel or in order to participate in any private action under the
federal securities laws.

3. Plaintiff is willing to serve as a representative party on behalf of the class, including
providing testimony at deposition and trial, if necessary. I understand that this is not a
claim form, and that my ability to share in any recovery as a member of the class is not
dependent upon execution of this Plaintiff Certification.

4, Plaintiff's transactions in the security that is the subject of this action during the
Class Period are as follows:

 

 

 

Purchases:
Name of Company __ Date(s) Purchased # Shares Purchased Cost
SQNM 1/29/09 16 Shares $326.24
SQNM 4/7109 12 Shares $163.20
SQNM 4/29/09 272 Shares $1285.40

Sales:
Name of Company Date(s) Sold # Shares Sold Proceeds
SQNM no sales

5. During the three (3) years prior to the date of this certification, Plaintiff has not

sought to serve or served as a class representative in an action filed under the federal
securities laws except for the following (if any):
 

 

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6. Plaintiff will not accept any payment for serving as a representative party on behalf
of the class beyond Plaintiff's pro rata share of any recovery, except such reasonable costs
and expenses (including lost wages) directly relating to the representation of the class as
ordered or approved by the court.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 30th dayof_April ,2009in Port Orange , Florida
City State

(Signature) X
 

 

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JS 44. (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as requ uired by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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I. (a) PLAINTIFFS DEFENDANTS Se =
MARIAN COAD, Individually and on Behalf of All Others Similarly SEQUENOM, INC., BRAY ont at BigHAWRAN, ALLAN
Situated BOMBARD, CHAR ANTO fi TH DRAGON
(b) County of Residence of First Listed Plaintiff Port Orange, Florida County of Residence ob Rigsplyisted. Refendanto. ¢ ZA

  

(EXCEPT IN U.S. PLAINTIFF CASES) SOUMMGISHPLAINFIBE CASES ONLY A}

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‘NOTE: IN LAND CONDEMNATION CASES, USE TH KO}
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(c) Attorney’s (Firm Name, Address, and Telephone Number) Altormeys (If Known) - .

David C. Walton, Coughlin Stoia Geller Rudman & Robbins LLP ey -
655 W. Broadway, Ste. 1900, San Diego, CA 92101 619/231-1058 09 CV g c 4h B (Mi WMec

 

 

Ii. BASIS OF JURISDICTION = (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11 U.S. Government WW 3 Federal Question PTF DEF PTF = DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 © 1 Incorporated or Principal Place a4 04
of Business In This State
O2 U.S. Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os os
Defendant (Indicate Citizenship of Panties in Item IIT) of Business In Another State
Citizen or Subject of a O03 © 3. Foreign Nation O66 O06
Foreign Country

 

 

     
       

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O 120 Marine O 310 Airplane © 362 Personal Injury - © 620 Other Food & Drug O 423 Withdrawal O 410 Antitrust
DO 130 Miller Act 0 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure 28 USC 157 430 Banks and Banking
O 140 Negotiable Instrument Liability © 365 Personal Injury - of Property 21 USC 88! © 450 Commerce
CO 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability O 630 Liquor Laws " y JO 460 Deportation
& Enforcement of Judgment Slander 0 368 Asbestos Personal §=|O 640 R.R. & Trick 0 $20 ee QO 470 Racketeer Influenced and
© 151 Medicare Act © 330 Federal Employers’ Injury Product 0 650 Airline Regs. O 830 Patent Cormupt Organizations
© 152 Recovery of Defaulted Liability Liability 0 660 Occupational O 840 Trademark (1 480 Consumer Credit
Student Loans © 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Excl. Veterans} (345 Marine Product © 370 Other Fraud a ooo Other O 810 Selective Service
C153 Recovery of Overpayment Liability © 371 Truth in Lending et \ a ee ‘SSOGTAE' BA 850 Securities/Commodities/
of Veteran’s Benefits (1 350 Motor Vehicle © 380 Other Personal 0 710 Fair Labor Standards 0 86! HIA| Sh Exchange
O 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act © 862 Black Lung (923) C1 875 Customer Challenge
© 190 Other Contract Product Liability ( 385 Property Damage | 720 Labor/Mgmt. Relations [0 863 DIWC/DIWW (405(g)) 12 USC 3410
© 195 Contract Product Liability | 360 Other Personal Product Liability 0 730 Labor/Mgmt.Reporting |() 864 SSID Title XVI C890 Other Statutory Actions
a 196 Franchise & Disclosure Act O 891 Agricultural Acts
y q a a i ¥ © 740 Railway Labor Act y © 892 Economic Stabilization Act
© 210 Land Condemnation a 441 Voting [510 Motions to Vacate © 790 Other Labor Litigation O $70 Taxes (U.S. Plaintiff © 893 Environmental Matters
O 220 Foreclosure O 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) © 894 Energy Allocation Act
© 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: Security Act CO 87! IRS—Third Party © 895 Freedom of Information
O 240 Torts to Land Accommodations 1 $30 General 26 USC 7609 _ Act
« (0 245 Tort Product Liability O 444 Welfare [535 Death Penalty Re ae CO = 900Appea! of Fee Determination
© 290 All Other Real Property |© 445 Amer. w/Disabilities - | 540 Mandamus & Other a 462 Nanvalization Application . Under Equal Access
Employment (1 550 Civil Rights 0 463 Habeas Corpus - to Justice
CO) 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee © 950 Constitutionality of
Other © 465 Other Immigration .. State Statutes
O 440 Other Civil Rights Actions
V. ORIGIN (Place an “X” in One Box Only) ferred fi i al to District .
&1 Original CJ 2 Removed from (3 3. Remanded from CO) 4 Reinstatedor OF 5 Transteree a O16 Multidistrict OO 7 hide trom
Proceeding State Court Appellate Court Reopened (specify) Litigation _ Judgment
Cite.t § ci e under uare filing (Do not cite jurisdictional statutes unless diversit ):
ROR ROM SES CSIC 4sit) a j Y
VI. CAUSE OF ACTION Brief description of cause:
Complaint tor Violation ot the Federal Securities Laws
VII. REQUESTED IN @ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: —@ Yes CNo +
VIII. RELATED CASE(S) (See instructions):
IF ANY ee instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY/OF RECORD
05/01/2009 David C. Walton CL A
FOR OFFICE USE ONLY

RECEIPT # K DI AMOUNT 45) a“ APPLYING IFP JUDGE MAG. JUDGE
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Case soe Ng Document 1 Filed 05/01/09, PageID.25 Page 25 of 25

DUPLICATE

Court Name: USDC California Southern
Division: 3

Receipt Number: CASO00309

Cashier ID: sramirez

Transaction Date: 05/01/2009

Payer Nama: COUGHLIN STOIA GELLER

 

CIVIL FILING FEE

For: COAD V. SEQUENOM

Case/Party: D-CAS-3-09-CV-000921-001
Amount : $350 .00

CHECK

Check/Money Order Num: 64978
Amt Tendered: $350.00
Total Due: $350.00
Total Tendered: $350.00
Change Amt: $0.00

There will be a fee of $45.00
charged for any returned check ,

 
